 Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.8 Filed 03/10/11 Page 1 of 29




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN



COMMODITY FUTURES TRADING        )
COMMISSION,                      )
                                 )
           Plaintiff,            )
                                 )
                                 )
      v.
                                 )
                                 )
ALAN JAMES WATSON, MICHAEL POTTS )                  CIVIL ACTION NO.:
and CASH FLOW FINANCIAL LLC.     )
                                 )                  COMPLAINT FOR INJUNCTIVE AND
           Defendants,           )                  OTHER EQUITABLE RELIEF AND FOR
                                 )                  CIVIL PENALTIES UNDER THE
and                              )                  COMMODITY EXCHANGE ACT, AS
                                 )                  AMENDED, 7 U.S.C. §§1-25
THE JEDBURGH GROUP,              )
           Relief Defendant.     )
                                 )




        Plaintiff, Commodity Futures Trading Commission (“Commission” or “CFTC”), by its

attorneys, alleges as follows:

                                         I. SUMMARY

        1.     From at least November 28, 2007 through present (“relevant period”), Defendants

Alan James Watson (“Watson”), Michael Potts (“Potts”), and Cash Flow Financial LLC

(“CFF”), fraudulently solicited and accepted at least $45 million from more than 600 individuals

and entities to participate in a commodity pool to trade commodity futures contracts and

securities.

        2.     Throughout the relevant period, in order to induce participation in the commodity

pool, Watson, acting as an unregistered commodity pool operator (“CPO”) and Potts as an

unregistered associated person (“AP”) of a CPO, failed to disclose material facts to actual and

                                                1
 Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.9 Filed 03/10/11 Page 2 of 29




prospective pool participants, including that Watson was misappropriating pool participant funds

for personal use and using pool participant funds to pay principal and purported returns to

existing pool participants in a manner typical of a Ponzi scheme. Further, Watson and Potts

made material misrepresentations, including that the commodity pool was profitable when it was

not; and that all funds invested with CFF were being traded by an advisor named Trade LLC,

when in fact they were deposited in a variety of instruments not authorized by CFF pool

participants.

       3.       To conceal Watson’s trading losses, Ponzi scheme, and the misappropriations,

Watson issued or caused to be issued false monthly statements and/or other reports. These

documents falsely reflected returns of at least 10% profit each month from trading commodity

futures and/or securities on behalf of the pool using the Trade LLC program, and failed to

reflect the substantial losses incurred as a result of Watson’s use of CFF funds in non-Trade

LLC schemes.

       4.       Beginning in July 2009, after Trade LLC had ceased to do business, Watson

issued additional false statements and omitted material information regarding the location and

status of pool participant funds in order to conceal his investment losses, Ponzi scheme, and

misappropriations. He issued Schedule K-1’s to pool participants for use in filing their tax

returns that falsely reported profits on investment and falsely promised that funds would be

returned in the near future.

       5.       Through his ongoing conduct, Watson has engaged, is engaged, or is about to

engage in acts and practices in violation of the anti-fraud provisions of Sections 4b(a)(2) and

4o(1)(A) & (B) of the Commodity Exchange Act (the “Act”), 7 U.S.C. §§ 6(b)(a)(2) and

6o(1)(A) & (B) (2006), and Section 4b(a)(1) of the Act as amended by the Food, Conservation,



                                                2
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.10 Filed 03/10/11 Page 3 of 29




and Energy Act of 2008, Pub. L. No. 110-246, Title XIII (the CFTC Reauthorization Act of

2008 (“CRA”)), § 13102, 122 Stat. 1651 (enacted June 18, 2008), to be codified at 7 U.S.C. §

6b(a)(1). Watson also used the means and instrumentalities of interstate commerce in

conducting his business as a CPO of the commodity pool without being registered as such in

violation of Section 4m(1) of the Act, 7 U.S.C. § 6m(1) (2006).

      6.       Potts acted as an AP of a CPO, without being registered as such in violation of

Section 4k(2), 7 U.S.C. § 6k(2) of the Act. Further, Potts has engaged, is engaged, or is about

to engage in acts and practices in violation of the anti-fraud provision of Section 4o(1)(B) of the

Act, § 6o(1)(B) (2006).

      7.       At all times relevant and in regard to all conduct alleged herein, Watson and Potts

were agents of CFF and acted within the scope of their employment. As such, CFF is liable for

Watson’s and Potts’ conduct pursuant to Section 2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B)

(2006), and Commission Regulation 1.2, 17 C.F.R. § 1.2 (2010).

      8.       Relief defendant The Jedburgh Group is not charged with violations of the Act.

However, it received funds from Defendants in which it had no legitimate interest or entitlement

and which were derived from Defendants’ fraudulent acts. The Jedburgh Group, therefore,

must return and repay these funds.

      9.       Accordingly, pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1 (2006), the

Commission brings this action to enjoin Defendants’ unlawful acts and practices and to compel

their compliance with the Act. In addition, the Commission seeks civil monetary penalties and

other equitable relief, including restitution to pool participants, disgorgement of Defendants’ ill-

gotten gains, a permanent trading ban, and such other relief as the Court may deem necessary or

appropriate.



                                                 3
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.11 Filed 03/10/11 Page 4 of 29




       10.     Unless permanently restrained and enjoined by the Court, Defendants are likely to

continue to engage in the illegal acts and practices alleged in this Complaint, as more fully

described below.

                               II. JURISDICTION AND VENUE

       11.     The Court has jurisdiction over this action pursuant to Section 6c of the Act,

7 U.S.C. § 13a-1 (2006), which authorizes the Commission to seek injunctive relief against any

person whenever it shall appear to the Commission that such person has engaged, is engaging,

or is about to engage in any act or practice constituting a violation of any provision of the Act or

any rule, regulation, or order there under.

       12.     Venue properly lies with this Court pursuant to Section 6c(e) of the Act,

7 U.S.C. § 13a-1(e) (2006), in that Defendants are found in, inhabit, or transact business in this

District, and the acts and practices in violation of the Act have occurred, are occurring, or are

about to occur within this District, among other places.

                                           III. PARTIES

Plaintiff

       13.     Plaintiff Commodity Futures Trading Commission is a federal independent

regulatory agency charged by Congress with the administration and enforcement of the Act,

7 U.S.C. §§ 1 et seq. (2006), and the Regulations there under, 17 C.F.R. §§ 1.1 et seq. (2010).

Defendants

       14.     Defendant Cash Flow Financial LLC is registered as a Limited Liability

Corporation in Michigan and operates out of Clinton Township, Michigan. CFF was never

registered with the Commission as a CPO or in any other capacity.




                                                  4
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.12 Filed 03/10/11 Page 5 of 29




      15.     Defendant Alan James Watson is an individual who resides in Clinton

Township, Michigan, and controls the day to day operations of the pool. Watson has never been

registered with the Commission as a CPO or in any other capacity.

      16.     Defendant Michael S. Potts is an individual who resides in Mountville,

Pennsylvania. Potts solicited investors for CFF and assisted Watson with the day to day

operations of the pool. Potts has never been registered with the Commission as a CPO, AP or in

any other capacity.

Relief Defendant

      17.     Relief Defendant The Jedburgh Group, also known as Jedburgh Group

International, Inc., is a Florida corporation. Its headquarters are in Longwood, Florida. The

Jedburgh Group was retained by Watson and CFF to provide investigative services and assist

CFF in locating and recovering CFF pool participant funds invested by Watson in a variety of

schemes. The Jedburgh Group has thus far been successful in recovering at least $3 million of

pool participant funds, which it is holding in an escrow account.

Related Entity

      18.     Trade LLC is registered as a Limited Liability Corporation in Florida and

operated out of Palm Beach Gardens, Florida. Trade LLC was never registered with the

Commission as a CPO or in any other capacity. Trade LLC is the subject of a separate

enforcement action brought by the Commission in the U.S. District Court for the Southern

District of Florida. See CFTC v. Trade LLC, No. 9:10-cv-80738-KAM (S.D. Fla.) (complaint

filed June 22, 2010 alleging fraud and misappropriation).




                                               5
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.13 Filed 03/10/11 Page 6 of 29




                                           IV. FACTS

Formation of the Pool

       19.     Section 1a(5) of the Act, 7 U.S.C. § 1a(5) (2006), defines a “commodity pool

operator” as any person engaged in a business that is of the nature of an investment trust,

syndicate, or similar form of enterprise and in connection therewith, has solicited, accepted or

received funds, securities or property from others for the purpose of trading in any commodity

for future delivery on or subject to the rules of any contract market or derivatives transaction

execution facility.

       20.     Regulation 1.3(aa)(3), 17 C.F.R. § 1.3(aa)(3) (2010), defines an “associated

person” of a CPO to mean any natural person associated with a CPO in the capacity of a partner,

officer, employee, consultant, or agent (or any natural person occupying a similar status or

performing similar functions), in any capacity which involves (i) the solicitation of funds,

securities, or property for a participation in a commodity pool or (ii) the supervision of any

person or persons so engaged.

       21.     On or about January 28, 2004, Watson formed Cash Flow Financial as a Michigan

limited liability company.

       22.     By at least November 27, 2007, Watson and Potts began soliciting pool

participants to participate in an “investment club” operated through CFF for the purpose of

forming a commodity pool to be traded by a Florida-based entity called Trade LLC.

       23.     Between November 27, 2007, and June 30, 2009, CFF had more than 600 pool

participants throughout the United States and received at least $45 million in funds for trading

and investment.




                                                 6
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.14 Filed 03/10/11 Page 7 of 29




       24.     Watson acted as the CPO of this pool. As a CPO, Watson owed a fiduciary duty

to disclose all material information to his clients, the CFF pool participants.

       25.     Potts solicited pool participants and thereby acted as an AP of a CPO. As an AP

of a CPO, Potts owed a fiduciary duty to disclose all material information to his clients, the CFF

pool participants.

       26.     Watson and Potts solicited pool participants through instrumentalities of interstate

commerce, including telephone lines, and received funds from such individuals through the mail

and other instrumentalities of interstate commerce.

       27.     The CFF Operating Agreement, which Watson and each pool participant signed

and which sets forth the agreement between all CFF pool participants, states that Watson as CEO

is granted

       the power and authority to open and manage one or more brokerage or investment
       accounts on behalf of CFF-LLC. Notwithstanding this power and authority, such
       brokerage or investment accounts will be managed in accordance with an investment
       strategy proposed by the CEO, and approved by two-thirds majority of the Members
       (“Investment Strategy”).

       28.     The “Investment Strategy” as agreed to by the pool participants and posted on the

CFF website was to pool their funds to trade futures and equities on an intraday basis with the

aid of a system developed by Trade LLC.

    29.        Watson, as CEO of CFF, provided trading advice to the pool regarding trading

commodity futures and securities. Under the agreement, all CFF expenses and any

compensation to be paid to CFF and/or Watson, were to be paid from a 20% commission on all

profits generated by the CFF pool’s trading activity.




                                                  7
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.15 Filed 03/10/11 Page 8 of 29




    30.        Although Watson had represented that all pool participant funds would be traded

using Trade LLC’s program, Watson provided only a portion of the pooled funds to Trade LLC

for the purpose of trading futures and/or securities.

    31.        Contrary to the representation that all pool participants’ funds would be traded

using the Trade LLC program, Watson actually deposited a portion of the pool’s funds in his

own personal accounts opened under his own name at Alaron Trading Corporation, Account

No. 5250xxxx (the “Alaron Account”) and at TradeStation Securities, Account No. 2107xxxx

(the “TradeStation Account”). Alaron and TradeStation are Futures Commission Merchants

(“FCMs”) registered with the CFTC. Watson traded commodity futures, specifically E-mini

S&P 500 futures, with pool participant funds in his personal Alaron and TradeStation Accounts.

        32.    Watson also deposited a portion of pooled CFF funds in an account in CFF’s

name with TD Ameritrade, Account No. 788-90xxxx (the “TD Ameritrade Account”), for the

purpose of trading securities. Watson executed trades for the TD Ameritrade Account himself

without CFF pool participant approval or notice.

        33.    Throughout the entire period when Defendants accepted funds from pool

participants, Defendants did not register in any capacity with the Commission.


Fraudulent Solicitations

        34.    During the period November 27, 2007 through June 30, 2009, Watson and/or

Potts directly and indirectly solicited more than $45 million from pool participants.

        35.    Watson and Potts directly solicited pool participants through monthly conference

calls and/or webinars occurring on the first Wednesday of each month beginning at least by May

2008.




                                                 8
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.16 Filed 03/10/11 Page 9 of 29




       36.     Watson and Potts directly solicited pool participants at an event held in

Perrysburg, Ohio on or about September 5-6, 2008.

       37.     Watson and Potts directly solicited pool participants at an open house hosted at

Trade LLC’s headquarters in Palm Beach Gardens, Florida, on March 28, 2009 – more than 2

weeks after Watson stopped depositing funds with Trade LLC.

       38.     Watson directly solicited pool participants via promotional materials posted on

the CFF website.

       39.     Watson and Potts indirectly solicited pool participants through a series of

“Executive Club Members” or “ECMs,” who acted under Watson’s and Potts’ direction in

identifying and soliciting new participants and were compensated in a manner similar to a multi-

level marketing program.

       40.     The CFF Operating Agreement stated that CFF pool participant funds would be

traded using a trading program selected by the CEO and approved by a vote of two-thirds of the

members. The pool participants approved pooling their funds for trading in commodity futures

and securities with Trade LLC.

       41.     In all of the materials, e-mails, meetings, and webinars that Watson and Potts used

to solicit pool participants, they represented that all CFF pooled funds would be traded using the

Trade LLC programs.

       42.     All of the pooled funds were to be traded through one of two programs:

                   a. The “Loan Program” allowed pool participants to provide a short term

                      “loan” (ranging from 3 to 9 months) to Trade LLC in return for a fixed

                      rate of return of 2% to 4.5% each month. Funds deposited for the “Loan

                      Program” were to be provided by CFF to Trade LLC to use for trading



                                                9
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.17 Filed 03/10/11 Page 10 of 29




                        futures and/or securities until CFF could accumulate enough funds to

                        begin actively trading in its own account. Watson represented to many of

                        the pool participants that participation in the “Loan Program” was

                        necessary in order to comply with federal statutes regarding investment

                        clubs.

                    b. The “Trading Program” purportedly generated higher rates of return for

                        pool participants (i.e., 8% to 10% monthly). Watson represented that the

                        funds deposited in the “Trading Program” would be placed in a CFF

                        account at Alaron, and Trade LLC would be given authority to execute

                        trades in futures and/or securities in the account. Watson further

                        represented that Trade LLC would not be able to withdraw funds from the

                        account. This fact was emphasized as a way that pool participants could

                        be assured that their money was actually being traded and could not be

                        stolen by Trade LLC – a fact that was material to many CFF members

                        who had previously been solicited by Watson and lost substantial sums of

                        money by investing in a Ponzi-like scheme involving a fraudulent scheme

                        known as Safevest LLC.

        43.     Many pool participants initially deposited funds in the “Loan Program” and when

the return of the principal and purported profit became due and payable by Trade LLC,

Defendants persuaded them to roll those funds over into the “Trading Program” with Trade

LLC.

        44.     At a minimum, Watson and/or Potts made the following false or misleading

representations in his solicitations:



                                                 10
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.18 Filed 03/10/11 Page 11 of 29




              a. Watson falsely claimed to be in compliance with CFTC registration

                 requirements, when he was not;

              b. Watson and Potts falsely claimed that all of the funds deposited into the

                 CFF pool would be employed in either the “Loan Program” or “Trading

                 Program” with Trade LLC, when it was not;

              c. Watson falsely claimed that the funds deposited in the “Trading Program”

                 would not be provided directly to Trade LLC, but instead would be put in

                 a brokerage account at Alaron, and Trade LLC would be given access and

                 authority to execute trades in the account. These assertions were false

                 because: (i) to the extent any funds were traded using the Trade LLC

                 program, it was given directly to Trade LLC, (ii) no account was ever

                 opened at Alaron in CFF’s name, and (iii) Trade LLC was never given

                 legal authority to access and execute trades in Watson’s personal Alaron

                 account or any account in Watson’s or CFF’s names;

              d. Watson falsely claimed that he was allowing Trade LLC to trade futures

                 using his own money to test their program, when in fact he used CFF pool

                 participant funds to trade futures in an account in his own name and never

                 legally gave Trade LLC discretionary trading authority over that account;

              e. Watson falsely claimed that CFF was earning profits of at least 10% or

                 more each month before fees, when it was not;

              f. Watson falsely claimed in late May 2009 that he was going to stop

                 accepting new pool participants effective June 1, 2009, because (i) he was

                 in the process of hiring an accountant and needed a clean break to allow



                                          11
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.19 Filed 03/10/11 Page 12 of 29




                       them to take over the books, (ii) he wanted more time to find bigger and

                       better “bonus type deals,” and (iii) he wanted to prove once and for all that

                       CFF was not a Ponzi scheme and could survive without additional

                       infusions of cash. In fact, Watson failed to provide an accounting to CFF

                       pool participants and had started realizing the losses incurred through his

                       various schemes and needed an immediate influx of cash before investors

                       learned of his deception and stopped the money flow.

       45.     In addition to making affirmative false statements, Watson and/or Potts omitted

material facts from their clients, including but not limited to the following:

                   a. Watson and Potts failed to disclose that Watson began investing CFF pool

                       participant funds in a variety of unauthorized schemes other than Trade

                       LLC as early as March 2008.

                   b. Watson and Potts failed to disclose none of the funds deposited into the

                       CFF pool on or after March 12, 2009 were traded by Trade LLC and

                       instead were used in unauthorized schemes or otherwise misappropriated.

                       Notably, during the March 28, 2009 open house hosted at Trade LLC’s

                       headquarters in Florida, Watson and Potts failed to disclose to prospective

                       and current pool participants that Watson had stopped sending funds to

                       Trade LLC two weeks earlier, or that he had previously filed a lawsuit on

                       behalf of CFF in an attempt to recover funds invested in an unauthorized

                       scheme wholly unrelated to Trade LLC.

                   c. Watson and Potts failed to disclose that the CFF pool was losing money,

                       both through Watson’s unapproved investments and through Trade LLC.



                                                 12
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.20 Filed 03/10/11 Page 13 of 29




                    d. Watson and Potts failed to disclose the fact that Potts was using pool

                       participants’ funds for his own personal use, including excessive salaries

                       beyond the agreed upon 20% commission on pool participants’ purported

                       profits and for personal items and expenses.

                    e. Watson and Potts failed to disclose the fact that Watson was using pool

                       participants’ funds to pay principal and purported profit returns to existing

                       pool participants in a manner typical of a Ponzi scheme.

Misappropriation


        46.    Watson misappropriated pool participant funds in a variety of ways. Of the $45

 million solicited, only $8.1 million was traded by Trade LLC. The remainder was deposited in

 unapproved trading accounts or schemes, used to reimburse money lost by individuals in a prior

 Ponzi scheme involving Safevest LLC, used to reimburse current pool participants purported

 profits and principal without account for losses incurred by the pool, to pay excessive

 commissions to Watson, Potts and other ECMs, and for Watson’s and his family’s day to day

 living expenses.

        47.    For example, Watson represented to existing and prospective pool participants

 that CFF would be paid a commission of 20% of the profits from the CFF pool’s trading using

 the Trade LLC program. CFF’s operating expenses and compensation for Watson, Potts, and

 Executive Club Members, if any, was to be paid out of that 20% commission. Watson,

 however, paid fees and commissions in excess of the 20% agreed upon to himself, Potts, and

 Executive Club Members, without respect to the profitability of CFF or the purported

 profitability of CFF pool funds.

        48.    Potts received at least $165,000 from CFF pool participant funds.

                                                13
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.21 Filed 03/10/11 Page 14 of 29




         49.   Watson paid his own personal expenses directly from the CFF bank account,

 including payments on the mortgage for his home, daily purchases of food and gas, regular

 ATM cash withdrawals, as well as purchases at places such as Smokers Express, Toys R Us,

 Kmart, and General RV Center. Watson has misappropriated at least $1.1 million for his own

 use and that of his friends and family members.

       50.     Watson misappropriated pool participant funds when he used them to return other

 pool participants deposits and reimburse other pool participants purported profits when little or

 no actual profits had been generated.

         51.   Watson misappropriated pool participant funds when he returned funds that had

 been invested and lost in a prior Ponzi scheme involving Safevest. Watson distributed at least

 $325,000 of pool participants’ funds to non-pool participants as “return of principal” invested in

 Safevest.

         52.   No futures accounts were ever funded and traded in CFF’s name.

         53.   Instead, Watson misappropriated CFF pool participant funds when he used them

 to open the Alaron and TradeStation accounts in his own name and for his own benefit. Watson

 made investment decisions and actively traded futures in those accounts himself, as well as

 giving trading authority to unauthorized persons including a company known as Temple FX,

 which is not registered with the Commission, and an individual named Stanley Williams, who

 were not approved by CFF pool participants as required by the CFF Operating Agreement.

       54.     Contrary to his representations and the marketing materials provided on the CFF

 website that all pool funds would be traded using the Trade LLC program, Watson only

 provided a small amount of pool funds directly to Trade LLC to be traded in futures and/or

 securities.



                                                14
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.22 Filed 03/10/11 Page 15 of 29




       55.       Watson further misappropriated pool participant funds by investing participant

 funds in a variety of unauthorized investment schemes, including, but not limited to, the

 following:

                 a.     In July 2008, Watson invested $1 million of CFF pool participant funds in

       a California based scheme to invest in U.S. Treasury instruments with Blue Diamond

       Excavation, Olathe Mining Company and Sundial Investment Group LLC (Watson and

       Cash Flow Financial LLC v. Blue Diamond Excavation, Inc., No. 8:10-cv-00459 (C.D.

       Cal.));

                 b.     In September 2008, Watson invested $650,000 of CFF pool participant

       funds in an Arizona based money leasing scheme operated by Charles Bruce Ferguson.

       See Arizona v. Ferguson, No. 64 SGJ (Ariz. Sup. Ct., Maricopa County).

                 c.     In October 2008, Watson invested $1 million of CFF pool participant

       funds in a California based money leasing scheme involving Soldado Corporation. See

       Watson and Cash Flow Financial LLC v. Soldado Corp., No. 10-CV-1394 (N.D. Cal.).

                 d.     Beginning in December 2008, Watson invested $4,850,000 of CFF pool

       participant funds in a money leasing scheme with Darlene Bishop and Paradize Funding

       Network in Texas. See Cash Flow Financial LLC v. Bishop, No. 09-CV-00029 (W.D.

       Tex.).

                 e.     By at least June 2009, Watson invested approximately $3 million of CFF

       pool participant funds with a group of individuals and entities including Jason Meyer, M5

       Enterprises LLC, Royal Sovereign Group, and 3 Hooligans Investment Properties in

       connection with a money leasing program for the purpose of ultimately investing in U.S.



                                                 15
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.23 Filed 03/10/11 Page 16 of 29




       Treasury instruments. See Cash Flow Financial LLC v. Meyer, No. 2:09-CV-05002

       (E.D.N.Y.).



       56.      Watson invested CFF pool participant funds in additional unauthorized schemes

 that are not yet the subject of litigation.

       57.      Watson did not begin disclosing the existence of these other investments until

2010, even though he initiated litigation on behalf of CFF to recover the funds as early as March

27, 2009.

Fraudulent Account Statements

       58.      From at least November 27, 2007, when Watson began pooling CFF participant

funds, until July 23, 2009, Watson issued monthly account statements to participants. Those

statements falsely indicated that the pool participants were profiting at a rate of 10% per month

as a result of participating in the Trade LLC Trading Program.

       59.      The statements reflected Promissory Note or Loan Program participation and

“Trade” Program participation, but failed to disclose the other investments made by Watson with

CFF pool participant funds.

       60.      Watson knew that the account statements were untrue, or was reckless with regard

to their truthfulness, because he was aware that (1) only a small portion of pool participant funds

was actually traded using the Trade LLC program and (2) the pool was incurring significant

losses as a result of Watson’s investments in schemes unrelated to Trade LLC and was not

profitable.

       61.      Watson directed persons affiliated with Trade LLC to refrain from providing any

statements directly to CFF pool participants and from providing information regarding the total



                                                16
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.24 Filed 03/10/11 Page 17 of 29




amount deposited with Trade LLC by the CFF pool in order to hide the unauthorized investments

and substantial losses incurred by Watson.

The Cover Up – Additional False Statements Defrauding Pool Participants

          62.   Throughout July 2009, many CFF pool participants requested withdrawals of their

funds and/or profits. Watson deflected those requests, claiming that he was unable to access

CFF accounts because he was traveling with his family in an RV and driving cross-country.

          63.   During this same time period, however, Watson charged his family’s hotel stays

at a Disney resort to the main CFF bank account, paid for RV expenses from the CFF bank

account and executed wire transactions transferring more than $1.2 million out of the main CFF

bank account to various sources.

          64.   While Watson was away on vacation, Potts hosted the monthly meeting for pool

participants and represented that everything was going fine and CFF’s trading, which was being

conducted by Trade LLC, was successful.

          65.   In April and May 2010, Watson caused to be issued 2009 Schedule K-1’s to CFF

pool participants reflecting profits on investment through at least the end of May 2009, when he

knew that CFF pool participants had not in fact profited, but instead had suffered substantial

losses. Potts assisted Watson with the preparation of the false 2008 Schedule K-1s.

          66.   Throughout April and May 2010, Watson promised CFF pool participants a full

accounting of pooled funds and repeatedly promised that funds would be returned in the near

future.

                               V. VIOLATIONS OF THE ACT

                                         COUNT ONE

                Fraud in Connection with Futures Contracts (CFF and Watson)



                                                17
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.25 Filed 03/10/11 Page 18 of 29




 (Violations of Section 4b(a)(2)(i) and (iii) of the Act, 7 U.S.C. § 6b(a)(2)(i) and (iii) (2006),
  and Section 4b(a)(1)(A) and (C) of the Act as amended by the CRA, to be codified at 7
                                U.S.C. § 6b(a)(1)(A) and (C))

      67.     Paragraphs 1 through 66 are re-alleged and incorporated herein.

      68.     Section 4b(a)(2)(i) and (iii) of the Act, 7 U.S.C. § 6b(a)(2)(i) and (iii) (2006),

make it unlawful for any person to cheat or defraud or attempt to cheat or defraud; or willfully

deceive or attempt to deceive by any means whatsoever other persons in or in connection with

orders to make, or the making of, contracts of sale of commodities, for future delivery, made, or

to be made, for or on behalf of such other persons where such contracts for future delivery were

or may have been used for (a) hedging any transaction in interstate commerce in such

commodity, or the produce or byproducts thereof, or (b) determining the price basis of any

transaction in interstate commerce in such commodity, or (c) delivering any such commodity

sold, shipped or received in interstate commerce for the fulfillment thereof.

      69.     Section 4b(a)(1)(A) and (C) of the Act as amended by the CRA, to be codified at

7 U.S.C. § 6b(a)(1)(A) and (C), make it unlawful for any person, in or in connection with any

order to make, or the making of, any contract of sale of any commodity in interstate commerce

or for future delivery that is made, or to be made, on or subject to the rules of a designated

contract market, for or on behalf of any other person – (A) to cheat or defraud or attempt to

cheat or defraud the other person; or (C) willfully to deceive or attempt to deceive the other

person by any means whatsoever in regard to any order or contract or the disposition or

execution of any order or contract, or in regard to any act of agency performed, with respect to

any order or contract for the other person.

      70.     As alleged above, during the relevant period, Watson knowingly, willfully or with

reckless disregard for the truth, violated Section 4b(a)(2)(i) and (iii) of the Act, 7 U.S.C.



                                                 18
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.26 Filed 03/10/11 Page 19 of 29




§ 6b(a)(2)(i) and (iii) (2006), with respect to acts occurring before June 18, 2008, and in

violation of Section 4b(a)(1)(A) and (C) of the Act as amended by the CRA, to be codified at 7

U.S.C. § 6b(a)(1)(A) and (C), with respect to acts occurring on or after June 18, 2008, among

other things, (1) issuing false statements, including falsely claiming that all funds invested with

CFF would be invested in an account for which Trade LLC had trading authority, but not direct

access; (2) omitting material information, including the fact that Watson had invested more than

half of CFF’s funds in unauthorized schemes and had completely stopped sending any funds to

Trade LLC on or after March 12, 2009; (3) misappropriating pool participant funds by using

such funds to pay principal and purported returns to other pool participants; and (4)

misappropriating pool participant funds for personal use.

      71.     Watson acted as an agent of CFF when he violated the Act and, therefore, CFF, as

his principal, is liable for his acts, omissions and failures in violation of Section 4b(a)(2)(i) and

(iii) of the Act, 7 U.S.C. § 6b(a)(2)(i) and (iii) (2006), with respect to conduct occurring before

June 18, 2008, and in violation of Section 4b(a)(1)(A) and (C) of the Act as amended by the

CRA, to be codified at 7 U.S.C. § 6b(a)(1)(A) and (C), with respect to conduct occurring on or

after June 18, 2008, pursuant to Section 2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B) (2006), and

Commission Regulation 1.2, 17 C.F.R. § 1.2 (2010).

      72.     Each misrepresentation or omission of material fact, issuance of a false statement

or report, and misappropriation, including but not limited to those specifically alleged herein, is

alleged as a separate and distinct violation of Section 4b(a)(2)(i) and (iii) of the Act, 7 U.S.C.

§ 6b(a)(2)(i) and (iii) (2006), with respect to acts occurring before June 18, 2008, and Section

4b(a)(1)(A) and (C) of the Act as amended by the CRA, to be codified at 7 U.S.C. § 6b(a)(1)(A)

and (C), with respect to acts occurring on or after June 18, 2008.



                                                 19
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.27 Filed 03/10/11 Page 20 of 29




                                          COUNT TWO

 False Statements and Records in Connection with Futures Contracts (CFF and Watson)

  (Violations of Section 4b(a)(2)(ii) of the Act, 7 U.S.C. § 6b(a)(2)(ii) (2006), and Section
  4b(a)(1)(B) of the Act as amended by the CRA, to be codified at 7 U.S.C. § 6b(a)(1)(B))


      73.       Paragraphs 1 through 66 are re-alleged and incorporated herein.

      74.       Section 4b(a)(2)(ii) of the Act, 7 U.S.C. §§ 6b(a)(2)(ii) (2006), makes it unlawful

for any person to willfully make or cause to be made to other persons false reports or

statements, or willfully enter or cause to be entered for other persons false records in or in

connection with orders to make, or the making of, contracts of sale of commodities, for future

delivery, made, or to be made, for or on behalf of such other persons where such contracts for

future delivery were or may have been used for (a) hedging any transaction in interstate

commerce in such commodity, or the produce or byproducts thereof, or (b) determining the

price basis of any transaction in interstate commerce in such commodity, or (c) delivering any

such commodity sold, shipped or received in interstate commerce for the fulfillment thereof.

      75.       Section 4b(a)(1)(B) of the Act as amended by the CRA, to be codified at 7 U.S.C.

§§ 6b(a)(1)(B), makes it unlawful for any person, in or in connection with any order to make, or

the making of, any contract of sale of any commodity in interstate commerce or for future

delivery that is made, or to be made, on or subject to the rules of a designated contract market,

for or on behalf of any other person willfully to make or cause to be made to the other person

any false report or statement or willfully to enter or cause to be entered for the other person any

false record.

      76.       As alleged above, during the relevant period, Watson knowingly, willfully or with

reckless disregard for the truth, violated Section 4b(a)(2)(ii) of the Act, 7 U.S.C. §§ 6b(a)(2)(ii)



                                                 20
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.28 Filed 03/10/11 Page 21 of 29




(2006), with respect to acts occurring before June 18, 2008, and in violation of Section

4b(a)(1)(B) of the Act as amended by the CRA, to be codified at 7 U.S.C. §§ 6b(a)(1)(B), with

respect to acts occurring on or after June 18, 2008, the effective date of the CRA by, among

other things using or causing to be issued false account statements and reports reflecting

positive returns for the pool of 10% or more each month as a result of the Trade LLC trading

program and which failed to disclose the other investments made by Watson.

      77.      Watson acted as an agent of CFF when he violated the Act and, therefore, CFF, as

his principal, is liable for his acts, omissions and failures in violation of Section 4b(a)(2)(ii) of

the Act, 7 U.S.C. § 6b(a)(2)(ii) (2006), with respect to conduct occurring before June 18, 2008,

and in violation of Section 4b(a)(1)(B) of the Act as amended by the CRA, to be codified at 7

U.S.C. § 6b(a)(1)(B), with respect to conduct occurring on or after June 18, 2008, pursuant to

Section 2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B) (2006), and Commission Regulation 1.2, 17

C.F.R. § 1.2 (2010).

      78.      Each issuance of a false statement or report, including but not limited to those

specifically alleged herein, is alleged as a separate and distinct violation of Section 4b(a)(2)(ii)

of the Act, 7 U.S.C. § 6b(a)(2)(ii) (2006), with respect to acts occurring before June 18, 2008,

and Section 4b(a)(1)(B) of the Act as amended by the CRA, to be codified at 7 U.S.C. §

6b(a)(1)(B), with respect to acts occurring on or after June 18, 2008.

                                         COUNT THREE

                             Fraud By a Commodity Pool Operator

     (Violations of Section 4o(1)(A) & (B) of the Act, 7 U.S.C. § 6o(1)(A) & (B) (2006))

       79.     Paragraphs 1 through 66 are re-alleged and incorporated herein.




                                                 21
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.29 Filed 03/10/11 Page 22 of 29




       80.    During the relevant period, Watson acted as a CPO for the pool by soliciting,

accepting or receiving funds from others and engaging in a business that is of the nature of an

investment trust, syndicate, or similar form of enterprise, for the purpose of trading in

commodities for future delivery on or subject to the rules of a contract market.

       81.    As alleged above, during the relevant period, Watson employed a device, scheme

or artifice to defraud prospective and existing pool participants, or engaged in a transaction,

practice or course of business that operated as a fraud or deceit upon prospective and existing

pool participants in violation of Section 4o(1)(A) & (B) of the Act, 7 U.S.C. § 6o(1)(A) & (B)

(2006), by (1) issuing false statements, including falsely claiming that all funds deposited with

CFF would be traded in an account for which Trade LLC had trading authority, but not direct

access; (2) omitting material information, including the fact that Watson had invested more than

half of CFF’s funds in unauthorized schemes and had completely stopped sending any funds to

Trade LLC on or after March 12, 2009; (3) using or causing to be issued false account

statements and reports reflecting positive returns for the pool of 10% or more each month as a

result of the Trade LLC trading program and which failed to disclose the other investments

made by Watson; (4) misappropriating pool participant funds by using such funds to pay

principal and purported returns to other pool participants; (5) misappropriating pool participant

funds for personal use; and (6) issuing false statements in order to hide the true nature of his

fraud, including representations that all pool participants’ funds were the subject of the Florida

state action involving Trade LLC and could therefore not be returned until the conclusion of the

litigation.

       82.    Watson was acting as an agent of CFF when he violated the Act and, therefore,

CFF, as his principal, is liable for his acts, omissions and failures in violation of Section



                                                 22
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.30 Filed 03/10/11 Page 23 of 29




4o(1)(A) & (B) of the Act, 7 U.S.C. § 6o(1)(A) & (B) (2006), pursuant to Section 2(a)(1)(B) of

the Act, 7 U.S.C. § 2(a)(1)(B) (2006), and Commission Regulation 1.2, 17 C.F.R. § 1.2 (2010).

      83.      Each misrepresentation or omission of material fact, issuance of a false statement

or report, and misappropriation, including but not limited to those specifically alleged herein, is

alleged as a separate and distinct violation of Section 4o(1)(A) & (B) of the Act, 7 U.S.C.

§ 6o(1)(A) & (B) (2006).

                                           COUNT IV

               Fraud by an Associated Person of a Commodity Pool Operator

             (Violations of Section 4o(1)(B) of the Act, 7 U.S.C. § 6o(1)(B) (2006)

      84.      Paragraphs 1 through 66 are re-alleged and incorporated herein.

       85.     During the relevant period, Potts acted as an AP of a CPO for the pool by

soliciting individuals to become pool participants in regard to a business that is of the nature of

an investment trust, syndicate, or similar form of enterprise, for the purpose of trading in

commodities for future delivery on or subject to the rules of a contract market.

       86.     As alleged above, during the relevant period, Potts engaged in conduct that

operated as a fraud or deceit upon prospective and existing pool participants in violation of

Section 4o(1)(B) of the Act, 7 U.S.C. § 6o(1)(B) (2006), by (1) falsely representing that all of

the funds deposited with CFF were being traded by Trade LLC, which was not true; (2) falsely

representing that the CFF pool was generating profits including representing at the July 2009

monthly meeting that CFF was trading profitably with Trade LLC, which was not true; (3)

videotaping Trade LLC personnel purportedly trading and arranging for the footage to be

disseminated to pool participants and potential pool participants in order to induce additional

deposits when CFF had stopped sending any funds to Trade LLC for trading; (4) failing to



                                                23
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.31 Filed 03/10/11 Page 24 of 29




disclose that pooled funds had been misappropriated by Watson for his own personal use and

for use in unapproved schemes; (5) soliciting other members to act as ECMs in order to solicit

additional pool participants and deposits and representing to ECMs that they would be

compensated based on a proportion of the profits earned by any deposits they generated and

arranging for payments to ECMs based on the purported profitability of investments they

solicited even though no actual profits were generated; and (6) assisting Watson with the

preparation of the 2008 Schedule K-1’s for pool participants, which falsely showed profits on

deposits with CFF when in fact no profits were generated.

          87.   Potts was acting as an agent of CFF when he violated the Act and, therefore, CFF,

as his principal, is liable for his acts, omissions and failures in violation of Section 4o(1)(B) of

the Act, 7 U.S.C. § 6o(1)(B) (2006), pursuant to Section 2(a)(1)(B) of the Act, 7 U.S.C.

§ 2(a)(1)(B) (2006), and Commission Regulation 1.2, 17 C.F.R. § 1.2 (2010).

          88.   Each misrepresentation or omission of material fact, issuance of a false statement

or report, and misappropriation, including but not limited to those specifically alleged herein, is

alleged as a separate and distinct violation of Section 4o(1)(B) of the Act, 7 U.S.C. § 6o(1)(B)

(2006).

                                          COUNT FIVE

  Failure to Register As a Commodity Pool Operator and as an AP of a Commodity Pool
                                      Operator

       (Violations of Sections 4k(2) and 4m(1) of the Act, 7 U.S.C. §§ 6k(2) & 6m(1))

          89.   Paragraphs 1 through 66 are re-alleged and incorporated herein.

          90.   Section 4m(1) of the Act, 7 U.S.C. § 6m(1) (2006), provides that it is unlawful for

any CPO, unless registered under the Act, to make use of the mails or any means or

instrumentality of interstate commerce in connection with his business as a CPO. Section 4k(2)

                                                 24
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.32 Filed 03/10/11 Page 25 of 29




of the Act, 7 U.S.C. § 6k(2) (2006), in relevant part, makes it unlawful for any person to be

associated with a CPO as a partner, officer, employee, consultant or agent in any capacity that

involves the solicitation of funds for a participation in a commodity pool.

        91.     As alleged, during the relevant period, Watson acted as a CPO within the meaning

of Section 1a(5) of the Act, 7 U.S.C. § 1a(5) (2006), and used the mails, telephone services, or

other instrumentalities of interstate commerce in connection with his business as a CPO while

failing to register as a CPO in violation of Section 4m(1) of the Act, 7 U.S.C. § 6m(1) (2006).

As further alleged, during the relevant period, Potts acted an agent for a CPO in a capacity

involving the solicitation of participants for the pool, while failing to register as an AP, in

violation of Section 4k(2) of the Act, 7 U.S.C. § 6k(2) (2006).

        92.     Watson and Potts were acting as agents of CFF when they violated the Act and,

therefore, CFF, as their principal, is liable for their acts, omissions and failures in violation of

Section 4m(1) and 4k(2) of the Act, 7 U.S.C. §§ 6m(1) & 6k(2) (2006), pursuant to Section

2(a)(1)(B) of the Act, 7 U.S.C. § 2(a)(1)(B) (2006), and Commission Regulation 1.2, 17 C.F.R.

§ 1.2 (2010).

                                           COUNT SIX

             Disgorgement of Funds from Relief Defendant (The Jedburgh Group)

        93.     Paragraphs 1 through 66 are re-alleged and incorporated herein.

       94.      Defendants have defrauded pool participants and misappropriated pool funds.

       95.      Relief Defendant The Jedburgh Group was retained by CFF to recover funds

diverted by Watson to which CFF pool participants were rightly entitled.

       96.      The Jedburgh Group has recovered funds that were the subject of Defendants’

fraudulent conduct and misappropriation, and have been temporarily unjustly enriched thereby.



                                                 25
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.33 Filed 03/10/11 Page 26 of 29




        97.      While The Jedburgh Group has been successful in protecting those funds from

 further misappropriation, it has no legitimate entitlement to or interest in the funds.

        98.      The Jedburgh Group should be required to disgorge funds up to the amount they

 received resulting from Defendants’ fraudulent conduct and misappropriation.

                                                VI. RELIEF

        WHEREFORE, the Commission respectfully requests that the Court, as authorized by

 Section 6c of the Act, 7 U.S.C. § 13a-1 (2006), and pursuant to its own equitable powers, enter:

        (a) an order finding that Defendants violated: Section 4b(a)(2)(i)-(iii) of the Act, 7 U.S.C.

§§ 6b(a)(2)(i)-(iii) (2006); Sections 4b(a)(1)(A)-(C) of the Act as amended by the CRA, to be

codified at 7 U.S.C. §§ 6b(a)(1)(A)-(C); and Sections 4o(1)(A) &(B), 4k(2), and 4m(1) of the

Act, 7 U.S.C. §§ 6o(1)(A) & (B), 6k(2) and 6m(1) (2006);

        (b) an order of permanent injunction prohibiting Defendants, and any other person or

entity associated with them, including any successor thereof, from engaging in conduct violative

of the sections of the Act that the Defendants have been alleged to have violated;

        (c) an order of permanent injunction prohibiting Defendants from engaging, directly or

indirectly, in

                 1)     Trading on or subject to the rules of any registered entity (as that term is

                 defined in Section 1a of the Act as amended by the CRA, to be condicfied at 7

                 U.S.C. § 1a);

                 2)     Entering into any transactions involving futures, options, commodity

                 options (as that term is defined in Regulation 32.1(b)(1)), 17 C.F.R. § 32.1(b)(1)

                 (2010), (commodity options), and/or foreign currency (as described in Section

                 2(c)(2)(B) and 2(c)(2)(C)(i) of the Act, as amended by the by the CRA, to be



                                                  26
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.34 Filed 03/10/11 Page 27 of 29




               codified at 7 U.S.C. § 2(c)(2)(B) and 2(c)(2)(C)(i)) (forex contracts) for their own

               personal account or for any account in which any of them has a direct or indirect

               interest;

               3)      Having any futures, options, commodity options, and/or forex contracts

               traded on their behalf;

               4)      Controlling or directing the trading for or on behalf of any other person or

               entity, whether by power of attorney or otherwise, in any account involving

               futures, options, commodity options, and/or forex contracts;

               5)      Soliciting, receiving or accepting any funds from any person for the

               purpose of purchasing or selling any futures, options, commodity options, and/or

               forex contracts;

               6)      Applying for registration or claiming exemption from registration with the

               Commission in any capacity, and engaging in any activity requiring such

               registration or exemption from registration with the Commission except as

               provided for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2010); and

               7)      Acting as a principal (as that term is defined in Regulation 3.1(a)), agent

               or any other officer or employee of any person registered, exempted from

               registration or required to be registered with the Commission except as provided

               for in Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2010).

       (d) an order directing Defendants and the Relief Defendant, as well as any other person

or entity associated with them, including any successor thereof, to disgorge, pursuant to such

procedure as the Court may order, all benefits received from the acts or practices which




                                                27
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.35 Filed 03/10/11 Page 28 of 29




constitute violations of the Act, as described herein, and interest thereof from the date of such

violations;

       (e) an order directing Defendants and the Relief Defendant, as well as any other person

or entity associated with them, including any successor thereof, to make full restitution, pursuant

to such procedure as the Court may order, to every pool participant whose funds were received

by them as a result of acts and practices which constitute violations of the Act, as described

herein, and interest thereon from the date of such violations;

       (f) an order requiring Defendants to pay civil monetary penalties under the Act, to be

assessed by the Court, in amounts of not more than the higher of (1) triple the monetary gain to

Defendants for each violation of the Act or (2) $130,000 for each violation of the Act on or

between October 23, 2004 through October 22, 2008, and $140,000 for each violation of the Act

on or after October 23, 2008; and

       (g) an order for such other and further remedial ancillary relief as the Court may deem

appropriate.




                                                 28
Case 2:11-cv-10949-MAG-MKM ECF No. 2, PageID.36 Filed 03/10/11 Page 29 of 29




Respectfully submitted on this 10th day of March, 2011,

U.S. COMMODITY FUTURES TRADING COMMISSION

      /s/ Allison Baker Shealy
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                                                   29
